                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TENNESSEE
                               NORTHERN DIVISION

 George Williams,                                 :
                                                  :
                       Plaintiff,                 :
                                                  :
        vs.                                         Civil Case No.:
                                                  :
 BMW of North America, LLC,                       :
                                                    JURY DEMAND
                                                  :
                                                  :
                       Defendant.
                                                  :
                                                  :

                                         COMPLAINT

         For this Complaint, the Plaintiff George Williams, by undersigned counsel, states as

 follows:

                               PRELIMINARY STATEMENT

        1.      This is an action by the purchaser of a vehicle distributed, warranted, and sold

 by the Defendant BMW of North America, LLC.

        2.      Plaintiff purchased his BMW car with undisclosed defective engine

 (commonly referred to as “N63 engine”) that burns an excessive amount of engine oil. As a

 result, the car’s N63 engine and other components are more likely to prematurely fail and

 need frequent replacement, the car is worth less money, and Plaintiff has had to spend time

 and money constantly dealing with the defect, including regularly adding quarts of oil to his

 car in between oil changes.

        3.      In order to uncover the root of the problem and get a repair, Plaintiff presented

 his car to a BMW dealer. BMW, however, claimed there was nothing wrong with N63 engine

 in Plaintiff’s car and having to add quarts of oil in between oil changes was “normal.”




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        4.      In truth, BMW knew all along the N63 engines were defective and concealed

 its knowledge from Plaintiff at the time of purchase and during each subsequent time when

 Plaintiff presented his car to BMW dealer complaining about engine oil consumption.

        5.      Recently, the fact of BMW’s knowledge of N63 engine oil consumption

 defects came to light in a similar case brought in the U.S. District Court for the Central

 District of California, Zargarian v. BMW of North America, LLC, et al, Case No. 2:18-cv-

 04857-RSWL-PLA (C.D. Cal. Aug. 27, 2019) (ECF #31-2), where plaintiff brought a motion

 to compel the deposition of a BMW engineer and to compel the further production of

 documents relating to BMW’s knowledge of N63 engine defect. There, plaintiff said:

             Plaintiff is in possession [sic] of many reports created by Mr. Murray that refer to
             N63 engine defects but were not produced in McDonald. Attached as Exhibit 17
             is a true and correct copy of such reports, with certain relevant portions
             highlighted [sic]. As one example, a 2013 report from Mr. Murray describes:
             “Customer complains that the low engine oil level message appears while
             driving resulting in repeat visits [to] the dealer for top up.” (Tabesh Reply Decl.
             Ex. 12 at 21.) On the same page, Mr. Murray identifies the problem to BMW of
             North America, LLC’s parent company, BMW AG: “AG - This is a growing
             problem this engine (N63T3). This is a severe customer annoyance causing
             unscheduled visits to the dealer for engine oil topping. Some situations have
             resulted in the repurchase of the vehicle.” (Id.) Likewise, a 2010 report refers in
             its subject line to “N63 Rough Running, Burnt Oil Smell, Crankcase
             Ventilation Hose Leaking Engine Oil or Vapor.” (Id. at 1.) The report further
             describes an attachment, addressed to “AG,” i.e., BMW AG – BMW of North
             America’s parent company in Germany, as follows: “Attached is a zip file with
             Warranty Data, one file (unfiltered) contains 119 cases of the parts associated
             to this system being replaced for some failure. The 2nd file (filtered) contains
             43 warranty claims where one of these parts was claimed for leaking.” (Id. at 2.)

        6.      Plaintiff seeks damages related to the vehicle’s excessive consumption of

 engine oil and Defendant’s failure to honor the terms of its warranty.

        7.      The Plaintiff would not have purchased the vehicle had he been made aware of

 the vehicle’s defective engine.




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                                     JURISDICTION AND VENUE

        8.        This Court has jurisdiction over this matter pursuant to the Magnuson-Moss

 Warranty Act, 15 U.S.C. § 2310(d)(1)(B), in that the Plaintiff claims more than $50,000.00 in

 damages, exclusive of interest and costs, and under the doctrine of supplemental jurisdiction

 as set forth in 28 U.S.C. § 1367.

        9.        Venue is appropriate in this District pursuant to 28 U.S.C. § 1391(b)(2) in that

 a substantial part of the events giving rise to the Plaintiff’s claims occurred within this

 District; this District is where Defendant directs and controls warranty repairs on covered

 vehicles; this District is where Defendant made repeated misrepresentations to Plaintiff; and

 where Defendant concealed certain material information from Plaintiff.

                                             PARTIES

        10.       Plaintiff George Williams is an adult individual residing in Blountville,

 Tennessee.

        11.       Defendant BMW of North America, LLC (hereafter “BMW”) is a privately

 held Delaware limited liability company with its principle place of business located at 300

 Chestnut Ridge Road, Woodcliff Lake, New Jersey. BMW is a wholly owned subsidiary of

 BMW (US) Holding Corp. BMW (US) Holding Corp. is a Delaware corporation with a

 principle place of business located in Woodcliff Lake, New Jersey.

        12.       BMW was created in 1975 to act as the United States importer of BMW luxury

 and performance vehicles, which were traditionally manufactured in Munich, Germany. At

 all relevant times, BMW was engaged in the business of importing, assembling, marketing,

 distributing, and warranting BMW automobiles in the State of Tennessee and throughout the

 United States.



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        13.     BMW sells BMW vehicles through a network of independently owned

 dealerships across the United States that are agents of BMW.

                                  FACTUAL ALLEGATIONS

        14.     On or about August 3, 2016, Plaintiff purchased a 2014 BMW 750Li, Vehicle

 Identification Number WBAYE8C57ED780649 (hereafter the “Vehicle”). On information

 and belief, Plaintiff purchased the Vehicle from BMW’s authorized dealer in the state of

 Tennessee.

        15.     The total sales price for the Vehicle was $58,950.29 including options, fees,

 taxes, and other charges. On information and belief, Plaintiff incurred additional finance

 charges not included in the total sales price.

        16.     Within a few months after purchasing the Vehicle, Plaintiff observed that it

 consumed an excessive amount of engine oil which required him to add two quarts of oil

 about every 1500 miles throughout the warranty period and well before the Defendant’s

 recommended oil change intervals.

        17.     During the warranty period, Plaintiff complained to Rick Hill BMW in

 Kingsport, Tennessee, BMW’s authorized dealer (“Rick Hill BMW”), that the Vehicle

 consumed an excessive amount of engine oil.

        18.     In response, Rick Hill BMW told Plaintiff that such oil consumption was

 normal and did not offer any repairs to resolve the Vehicle’s excessive oil consumption.

        19.     As a result of the Vehicle’s excessive consumption of engine oil, Plaintiff had

 to add engine oil to the Vehicle in between the Defendant’s recommended oil change intervals

 in order to prevent the Vehicle’s engine from failing.




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        20.     The cost to repair the Vehicle that involves an engine replacement ranges from

 $12,500.00 to $15,000.00.

        21.     Plaintiff has incurred out of pocket costs associated with the Vehicle’s

 excessive engine oil consumption.

        22.     Defendant manufactured and placed into the stream of commerce the

 aforementioned Vehicle, which the Plaintiff subsequently purchased.

        23.     Prior to purchasing the Vehicle, Plaintiff relied upon BMW’s representations

 contained within Defendant’s New Vehicle Limited Warranty and that accompanied the sale

 of the Vehicle, including the representation that BMW would repair the Vehicle’s engine;

 these representations were material to Plaintiff’s decision to purchase the Vehicle.

        24.     Specifically, under its New Vehicle Limited Warranty, Defendant promised to

 repair or replace components found to be defective in material or workmanship during the 4-

 year / 50,000-mile following such Vehicle delivery to consumer.

        25.     BMW’s authorized dealers expressly assented to perform warranty repairs on

 the Vehicle, necessary to bring BMW in compliance with its express warranty.

        26.     In its New Vehicle Limited Warranty, BMW states:

                Warrantor

                BMW of North America, LLC (BMW NA) warrants during the
                Warranty Period the 2014 U.S.- specification BMW vehicles
                distributed by BMW NA or sold through the BMW NA European
                Delivery Program against defects in materials or workmanship to the
                first retail purchaser, and each subsequent purchaser.

                Warranty Period

                The warranty period is 48 months or 50,000 miles, whichever occurs
                first.

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                Warranty Coverage

                To obtain warranty service coverage, the vehicle must be brought, upon
                discovery of a defect in material or workmanship, to the workshop of
                any authorized BMW center in the United States (including Puerto
                Rico), during normal business hours. The authorized BMW center will,
                without charge for parts or labor, either repair or replace the defective
                part(s) using new or authorized remanufactured parts. The decision
                whether to repair or replace said part(s) is solely the prerogative of
                BMW NA. Parts for which replacements are made become the property
                of BMW NA. In all cases, a reasonable time must be allowed for
                warranty repairs to be completed after the vehicle is received by the
                authorized BMW center.

        27.     BMW controls the execution of all warranty repairs by its dealers, as it

 provides training, materials, special tools, diagnostic software, and replacement parts to its

 dealers, and demands that the warranty repairs be performed in strict accordance with its

 repair guidelines, Technical Service Bulletins, and other instructions.

        28.     In return, BMW pays its authorized dealerships monetary compensation for

 such warranty repairs.

        29.     Therefore, BMW’s authorized dealers are agents for the purpose of vehicle

 repairs, and knowledge of a defect reported to any such dealer can be imputed to BMW.

        30.     Furthermore, Plaintiff is a third party beneficiary of contract(s) among BMW

 and BMW’s authorized dealers.

        31.     After purchasing the Vehicle, Plaintiff discovered that the Vehicle’s engine

 contains a manufacturing defect which causes the Vehicle to consume engine oil at an

 extremely rapid rate.

        32.     Moreover, Plaintiff discovered that as a result of the Vehicle’s above-described

 defect, Plaintiff was required to regularly add additional engine oil to the Vehicle in between



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 the Defendant’s recommended oil change intervals in order to prevent the Vehicle’s engine

 from failing and suffering from other related damage.

        33.     In 2008, BMW introduced a new V8, twin-turbocharged engine, which BMW

 and enthusiasts refer to as the “N63.” This large, high-performance engine was designed to

 be BMW’s next generation V8 and was placed in certain BMW 5 Series, 6 Series, 7 Series,

 X5, and X6 vehicles from the 2009 through 2014 model years.

        34.     Upon information and belief, the N63 engine was included on the V8 versions

 of the following BMW subject vehicles:

                F01 and F02 (7 Series Sedan) – produced from 3/2009 to 6/2012
                F04 (Active Hybrid 7) – produced from 4/2010 to 6/2012
                F07 (Gran Turismo) – produced from 9/2009 to 6/2012
                F10 (5 Series Sedan) – produced from 3/2010 to 7/2013
                F12 (6 Series Convertible) – produced from 3/2011 to 7/2012
                F13 (6 Series Coupe) – produced from 7/2011 to 7/2012
                E70 (X5) – produced from 3/2010 to 6/2013
                E71 (X6) – produced from 7/2008 to 6/2014
                E72 (ActiveHybrid X6) – produced from 9/2009 to 9/2011

        35.     Plaintiff’s Vehicle is equipped with the N63 engine.

        36.     The N63 has become widely known and described as defective throughout the

 automotive industry and the BMW-enthusiast community. It is widely recognized that N63

 engines consume excessive amounts of engine oil and require frequent engine repairs,

 especially as compared to other, similar vehicles not containing N63 engines.

        37.     Some owners and enthusiasts blame the oil consumption on BMW’s decision

 to place the N63’s twin-turbochargers between the cylinder heads, and inside of the engine V,

 rather than outside of the engine V, away from sensitive components, where turbochargers are

 typically located.




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        38.     N63 vehicles are notorious for consuming excessive amounts of engine oil and

 frequently need additional engine oil between scheduled oil changes to prevent catastrophic

 engine damage or failure.

        39.     The oil consumption defect was particularly apparent in a recent Consumer

 Reports study on excessive oil consumption. Consumer Reports studied 498,900 vehicles

 across several makes and models for complaints about engine oil consumption and concluded

 that BMW’s N63 engine was included on four out of the five most defective vehicles.

 (http://www.consumerreports.org/cro/magazine/2015/06/excessive-oil-

 consumption/index.htm.)

        40.     The V8 version of the BMW 5 Series, which contained the N63 engine in

 2011, 2012, and 2013 model years, was the worst performer in the study with 43 percent of

 vehicles needing an additional quart of oil between oil changes as of 2015. BMW’s 6 Series

 and 7 Series, many of which contained the N63 engine, are the next worst performers.

 Finally, the V8 version of the X5 was the fifth worst performer in the study.

        41.     The Consumer Reports study also shows that a greater percentage of defective

 models start to consume oil as they age. This means that large numbers of N63 owners will

 begin to experience the oil consumption defect in the near future if they have not already.

        42.     Many purchasers of vehicles containing the N63 engine have become upset

 about the excessive engine oil consumption – which was not disclosed by BMW in the

 product literature – and have posted internet complaints about specific frustrations and hassles

 caused by the oil consumption defect.

        43.     For example, one N63 purchaser started a thread entitled, “Excessive oil

 consumption” on a BMW enthusiast website in November 2011:



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                 So I’m starting to get a little irritated at how much oil my 550 is
                 burning. In the last 6k I’ve had to add 1 quart of oil three times. In
                 other words it is burning a quart every 2000 miles. I’ve read about
                 some people posting about having to add oil before but this
                 much?? I’ve never owned a new car that burned any oil much less
                 at this rate. Anyone else having this issue? Oh btw the car has
                 9120 miles and I put 3100 in Europe during my ED. When I was
                 to have redelivery I had the dealer do an oil change and was gonna
                 change the oil every 7.5k.

                 (http://www.bimmerfest.com/forums/showthread.php?t=581072.)

         44.     A fellow BMW enthusiast responded with four separate links about the oil

 consumption issue and explained that the defect “was a hot topic back in September” 2011.

 (Id.)

         45.     An Internet search of “N63 AND Burning Oil” reveals thousands of similar

 complaints regarding the oil consumption defect.1

         46.     BMW had a duty to disclose the oil consumption defect and the associated out-

 of-pocket repair costs since the defect poses an unreasonable safety hazard, and because

 BMW had exclusive knowledge or access to material facts about N63 vehicles and engines,

 not known or reasonably discoverable by consumers. Defendant, however, failed to disclose

 the defect to consumers prior to or at the time of purchase or lease.

         47.     The oil consumption defect has become so problematic that BMW has issued

 several technical service bulletins (“TSBs”) to address complaints of excessive oil

 consumption and other problems related to the N63 engine.2

         48.     With regard to the oil consumption issue, BMW issued the following TSBs:

                 NHTSA ID Number: 10046859

 1
    See, e.g., http://www.bimmerfest.com/forums/showthread.php?t=581072 (last visited Mar. 21, 2016);
 http://www.e90post.com/forums/showthread.php?t=874786 (last visited Mar. 21, 2016).
 2
  TSBs are recommended repairs issued by automotive manufacturers and directed only to automotive dealers.
 TSBs are frequently issued when a manufacturer receives widespread reports of a particular problem with its
 vehicles.

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                 Service Bulletin Number: SIB-11-08-12
                 Summary: DUE TO DAMAGED SEAL RING, DURING
                 ASSEMBLY, ENGINE OIL IS LEAKING FROM ENGINE OIL
                 PUMP VOLUME CONTROL VALVE GASKET SEAL RING.
                 MODELS E70, E71, F01, F02, F04, F07, F10, F12, F13. NO MODEL
                 YEARS LISTED.
                 ______________________________________________________
                 NHTSA ID Number: 10045282
                 Service Bulletin Number: SIB-11-07-12
                 Summary: BMW: WHILE DRIVING VEHICLE, AT TIMES
                 WOULD BE ROUGH RUNNING; WHITE OR BLUE SMOKE
                 SEEN EXITING EXHAUST SYSTEM AND THE ENGINE OIL IS
                 CONSUMED ABOVE SPECIFICATIONS.

         49.     In June 2013, BMW issued SIB-11-01-13, which took the extraordinary step of

  changing engine oil consumption specifications for N63 vehicles, and specifically instructed

  service technicians to add two quarts of engine oil to N63 vehicles when the vehicles instruct

  owners to add only one additional quart of oil.

   (http://www.xbimmers.com/forums/showthread.php?p=14449679.)

         50.     Instead of addressing the underlying cause of excessive oil consumption in

  order to attempt to fix the defect, BMW recommended that its service technicians simply add

  more engine oil to respond to consumer complaints. Technicians were instructed to add two

  quarts of engine oil when the vehicle’s electronic system specifically called for one additional

  quart and to also add an additional quart as the default fill on N63 vehicles. While BMW did

  not address the underlying problem, it likely reduced the number of complaints because the

  engine oil level in the subject vehicles would now be overfilled, a condition that can cause the

  engine oil to become aeriated, resulting in potential oil starvation and reduced oil pressure.

         51.     Technical Service Bulletin SIB-11-03-13 appears to be part of a campaign to

  conceal the oil consumption defect and represent it as a normal feature of BMW vehicles. To




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  this effect, BMW issued SIB-11-03-13, which upon information and belief includes the

  following:

               Service Bulletin Number: SIB-11-03-13

               Summary: All engines normally consume a certain amount of engine
               oil. This is necessary in order to properly lubricate the cylinder walls,
               pistons, piston rings, valves and turbocharger(s), if equipped. In
               addition, engines with less than 6,000 miles will generally consume
               additional engine oil because the internal engine components are not
               fully seated (break-in). Therefore, engine oil consumption complaints
               received prior to 6,000 miles cannot be considered.

               Once a new or remanufactured engine has accumulated 6,000 miles,
               oil consumption can be considered if there is a drastic change in the
               engine oil consumption rate (e.g., the engine oil consumption rate
               triples) under similar driving conditions.

               Engines equipped with a turbocharger(s) will consume more engine oil
               than normally aspirated engines (non-turbocharged). The additional oil
               that is consumed in a turbocharged engine is mainly due to the
               turbocharger lubrication requirements. Some of the engine oil
               normally migrates past the turbocharger turbine bearing seals and will
               enter the intake tract of the engine.

               All turbocharged engines also require a complex crankcase ventilation
               system. The crankcase ventilation system needs to maintain a small
               vacuum on the crankcase and not allow the crankcase to be
               pressurized. Pressurizing the engine crankcase can lead to external
               engine oil leaks and increased engine oil consumption via the piston
               rings and valve seals. When the load and the boost level of a
               turbocharged engine is varied, the path of the crankcase pressure is
               changed. During the crankcase ventilation path transition, a small
               amount of engine oil will pass through the crankcase ventilation
               system and is additionally consumed. The additional engine oil
               consumption of a turbocharged engine, as compared to a normally
               aspirated engine, is normal and not a defect.

               Oil Consumption specification:
               - All BMW engines (excluding Motorsport) can consume up to 1 quart
               of engine oil per 750 miles at any time.
               - Due to the increased engine power, all Motorsport engines can
               consume up to 2.5 quarts of engine oil per 1,000 miles at any time.
               Turbocharged Engines:



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                 Engines that are fitted with a turbocharger(s) will consume more
                 engine oil than naturally aspirated engines (non-turbocharged
                 engines). In this case, a turbocharged engine could require topping of
                 engine oil more frequently. For vehicles with N63 and N63T engines,
                 refer to SIB-11-03-13 for additional details.

         52.     BMW included every conceivable driving situation within this Service Bulletin

  as a factor for engine oil consumption so as to minimize their own responsibility and/or

  deflect blame onto consumers for the oil consumption defect. As can be seen from the TSBs,

  Defendant continued to misrepresent to its customers that the rate of oil consumption in the

  N63 engines was normal and to be expected in engines that are fitted with turbochargers.

         53.     BMW      made    these   representations   notwithstanding   that   the   stated

  recommended oil service interval at the time of sale of the subject vehicles was the earlier of

  15,000 miles or two years. Of course, at the rate of engine oil consumption referred to in

  BMW’s service bulletin, the N63 vehicles would consume nearly 20 quarts of engine oil

  between the recommended 15,000-mile oil service intervals. Clearly, there is nothing normal

  or expected about this rate of oil consumption.

         54.     Many N63 purchasers and automobile consumer advocates disagree that this

  level of engine oil consumption is normal and instead believe that it is excessive and well

  beyond normal.

         55.     Consumer Reports offered its opinion of excessive oil consumption in the

  subtitle of its article: Excessive oil consumption isn’t normal: Automakers say adding oil

  between scheduled changes is acceptable. It’s not.

   (http://www.consumerreports.org/cro/magazine/2015/06/excessive-oil-

  consumption/index.htm.)




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         56.     Following hundreds of customer complaints about the oil consumption defect

  and other problems with N63 vehicles, BMW launched the “N63 Customer Care Package”

  (bulletin B001314) on December 29, 2014 (herein, “Customer Care Package”). The Customer

  Care Package consisted of several different measures, which merely mask, but do not correct,

  the serious design and/or manufacturing defects of the N63 engine including the oil

  consumption defect.

         57.     The Customer Care Package instructed service representatives to check each

  covered vehicle’s timing chain, fuel injectors, mass air flow sensors, crankcase vent lines,

  battery, engine vacuum pump, and low pressure fuel sensor, and replace if necessary. BMW

  instructed its service representatives to inspect and replace these components for free, even if

  no longer covered by the manufacturer’s standard four-year/50,000 mile warranty.

         58.     Also, BMW had long emphasized the fact that its vehicles can go long periods

  without service and sold many N63 vehicles with the promise of a two-year or 15,000 mile

  service interval. The Customer Care Package significantly reduced the mileage of its

  recommended engine oil change intervals for the subject vehicles. As a result, BMW reduced

  the oil change intervals from the earlier of 15,000/two years to the earlier of 10,000 miles or

  one year.

         59.     BMW simultaneously launched the “N63 Customer Loyalty Offer” which

  offered purchasers discounts on new BMW vehicles to replace their defective N63 vehicles.

         60.     BMW also launched a related “N63 Customer Appreciation Program,” which

  authorized dealerships to provide purchasers with up to $50 of BMW merchandise or

  accessories.




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         61.     Engine oil is important because it functions as an essential lubricant for the

  moving parts in internal combustion engines. The oil creates a film separating surfaces of

  adjacent moving parts to minimize direct contact, thereby decreasing heat caused by friction

  and reducing wear. Engine oil also has important cleaning and sealing functions, and serves as

  an important medium for dissipating heat throughout the engine. As a result, the subject

  vehicles need the proper amount of engine oil in order for the engine and its related parts to

  function safely.

         62.     As suggested by the N63 Customer Care Package, upon information and belief,

  the oil consumption defect impacts several components of N63 vehicles, either via

  combustion of excessive amounts of engine oil directly or by causing these components a lack

  of appropriate lubrication, which results in these components to fail prematurely and need

  frequent replacement.

         63.     The oil consumption defect is a safety concern because it prevents the engine

  from maintaining the proper level of engine oil, and causes voluminous oil consumption that

  cannot be reasonably anticipated or predicted. Therefore, this oil consumption defect is

  unreasonably dangerous because it can cause engine failure while the subject vehicles are in

  operation at any time and under any driving conditions or speeds, thereby exposing the

  Plaintiff, his passengers, and others who share the road with them to serious risk of accidents

  and injury.

         64.     Plaintiff is informed and believes, and based thereon alleges that BMW

  acquired its knowledge of the oil consumption defect in 2008, if not before, through sources

  not available to Plaintiff, including but not limited to pre-release testing data, durability

  testing, early consumer complaints about the oil consumption defect to Defendant and its



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  dealers, testing conducted in response to those complaints, aggregate data from BMW dealers,

  including dealer repair orders and high warranty reimbursement rates, as well as, from other

  internal sources.

         65.     Defendant had a duty to disclose the oil consumption defect and the associated

  out-of-pocket repair costs to Plaintiff because the defect poses an unreasonable safety hazard,

  and because Defendant had exclusive knowledge or access to material facts about the Vehicle

  that were not known or reasonably discoverable by the Plaintiff. Defendant, however, failed to

  disclose the Oil Consumption Defect to consumers such as Plaintiff prior to or at the time of

  purchase or lease of the subject vehicles.

         66.     An engine that is starved of oil can seize up and cause the Vehicle to shut

  down when driven, thus creating for Plaintiff an unreasonably dangerous circumstance that

  may result in a crash.

         67.     The oil consumption defect can be and has been enormously consequential to

  Plaintiff, burdening him with out-of-pocket expenses that would not be necessary but for such

  defect and depriving him of his original bargain. First, excessive engine oil consumption

  requires additional service visits and increased maintenance costs due to the recently

  decreased oil change intervals, which the Plaintiff specifically sought to avoid by purchasing a

  high-end BMW Vehicle. Second, the oil consumption defect means that Plaintiff must be

  concerned with obtaining BMW-approved engine oil when needed. If Plaintiff continues to

  drive without adding oil, the Vehicle might catastrophically fail and strand him or potentially

  cause a life-threatening accident. This discourages Plaintiff from traveling long distances in

  his N63 Vehicle or forces him to carry an extra supply of oil. Third, Plaintiff will suffer

  significant loss when he sells the Vehicle because the reputation of these vehicles has been



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  impaired by now-public research establishing that these vehicles suffer from the oil

  consumption defect.

          68.    Plaintiff provided Defendant or one or more of its authorized dealers with an

  opportunity to repair the problems with the Vehicle. The Defendant has neglected, failed,

  refused or otherwise been unable to repair the substantial impairments to the Vehicle within a

  reasonable amount of time or a reasonable number of attempts.

          69.    The oil consumption defect experienced by the Plaintiff substantially impairs

  the use, value, and safety of the Vehicle to the Plaintiff.

          70.    The Plaintiff could not reasonably have discovered said nonconformities with

  the Vehicle prior to Plaintiff’s acceptance of the Vehicle.

          71.    The Plaintiff would not have purchased the Vehicle or would have paid

  significantly less for the Vehicle had he known, prior to the time of purchase, that he would

  be required to regularly purchase and add large volumes of engine oil to the Vehicle in order

  to prevent the Vehicle’s engine from failing.

                         TOLLING OF STATUTE OF LIMITATIONS

    I.    Fraudulent Concealment Tolling

          72.    Plaintiff did not and could not have known that there was an oil consumption

  defect with the Vehicle’s engines at the time that he purchased the Vehicle or any time

  thereafter.

          73.    The breach of warranties four-year statute of limitations under Tenn. Code

  Ann. § 47–2–725(1), which might otherwise apply to bar some of the Plaintiff’s claims,

  should be tolled because of Defendant’s knowing and active concealment of the fact that the

  Vehicle’s engine contains a defect.



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          74.    Defendant had a duty to disclose the oil consumption defect in the Plaintiff’s

  Vehicle and had a duty to warn the Plaintiff, who will foreseeably drive the Vehicle, of those

  dangers, as an engine that is starved of oil can seize up and cause the Vehicle to shut down

  when driven, thus creating for Plaintiff unreasonably dangerous circumstances that may result

  in a crash.

          75.    While Defendant issued TSBs making clear it was aware of the defect with the

  Vehicle’s engine, Defendant failed to disclose the existence of the defect to Plaintiff at the

  time of the Vehicle sale and at the times Plaintiff presented the Vehicle to Defendant’s

  authorized dealer for repair.

          76.    Moreover, Defendant’s authorized dealership informed Plaintiff that the

  Vehicle’s excessive consumption of engine oil was normal, rather than the result of a defect.

          77.    Defendant kept Plaintiff ignorant of vital information essential to the pursuit of

  his claims.

          78.    Defendant knowingly, affirmatively, and actively concealed the Vehicle’s

  defect from the Plaintiff.

          79.    Defendant was aware of the defect with the Vehicle.

          80.    Based upon the foregoing, Defendant is estopped from relying on any statutes

  of limitations in defense of this action.

   II.    Discovery Rule Tolling

          81.    Plaintiff could not have discovered through the exercise of reasonable

  diligence that the Vehicle contained the oil consumption defect within the time period of any

  applicable statutes of limitation.

          82.    Plaintiff did not know the engine in the Vehicle was defective when he

  purchased the Vehicle. Plaintiff did not and could not have known that the SIB-11-01-13 and
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  the N63 Customer Care Package campaigns did not cure the oil consumption defect and left

  the Vehicle engine vulnerable to catastrophic failure in the course of its normal operation.

         83.     Although Defendant launched the SIB-11-01-13 and the N63 Customer Care

  Package campaigns for the subject vehicles, the campaigns were limited in scope, and

  consumers were not informed that that the campaigns would not cure the oil consumption

  defect and remove the risk of subject vehicle engines being vulnerable to catastrophic failure

  in the course of its normal operation.

  III.   Estoppel

         84.     Defendant was under a continuous duty to disclose to the Plaintiff the true

  character, quality, and nature of the Vehicle.

         85.     Defendant knowingly, affirmatively, and actively concealed the true nature,

  quality, and character of the Vehicle from Plaintiff, and Defendant never intended to repair

  the oil consumption defect in the Vehicle.

         86.     Based on the foregoing, Defendant is estopped from relying on any statutes of

  limitations in defense of this action.

   IV.   Class Action Tolling

         87.     The statutes of limitation applicable to Plaintiff’s claims – including, without

  limitation, their breach of express warranty and implied warranty claims – have additionally

  been tolled by class action tolling in light of the Bang v. BMW of North America, LLC (Case

  No. 2:15-CV-6945) Complaint, filed September 18, 2015, and the Second Amended

  Complaint, filed in that case on March 21, 2016. See Crown, Cork & Seal Co. v. Parker, 462

  U.S. 345, 350, 103 S. Ct. 2392, 2396 (1983) (“The filing of a class action tolls the statute of

  limitations ‘as to all asserted members of the class’”).



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                                 FIRST CAUSE OF ACTION
                      Breach of Warranty Pursuant to the Magnuson-Moss
                            Warranty Act, 15 U.S.C. § 2301, et seq.

          88.     The Plaintiff incorporates by reference all of the above paragraphs of this

  Complaint as though fully stated herein.

          89.     The Plaintiff is a “consumer” as defined in 15 U.S.C. § 2301(3).

          90.     Defendant is a “supplier” and “warrantor” as defined in 15 U.S.C. § 2301(4)

  and (5).

          91.     The Vehicle is a “consumer product” as defined in 15 U.S.C. § 2301(6).

          92.     15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer who is

  damaged by the failure of a warrantor to comply with a written warranty.

          93.     15 U.S.C. § 2304(a)(1) requires Defendant, as a warrantor, to remedy any

  defect, malfunction or nonconformance of the Vehicle within a reasonable time and without

  charge to the Plaintiff.

          94.     Despite repeated demands, Defendant has failed to remedy the Vehicle’s oil

  consumption defect within a reasonable time, and/or a reasonable number of attempts, thereby

  breaching the written warranty applicable to the Vehicle.

          95.     As a result of Defendant’s breach of written warranty, and Defendant’s failure

  to remedy the same within a reasonable time and without charge to Plaintiff, Plaintiff has

  suffered damages.

                             SECOND CAUSE OF ACTION
      Breach of Implied Warranty of Merchantability Pursuant to the Magnuson-Moss
           Federal Act, 15 U.S.C. § 2301, et seq. and Tenn. Code Ann. § 47-2-314

          96.     Plaintiff incorporates by reference all of the above paragraphs of this

  Complaint as though fully stated herein.

          97.     Defendant is a merchant with respect to motor vehicles.
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          98.    The Vehicle was subject to implied warranties of merchantability, as defined in

  15 U.S.C. § 2308 and Tenn. Code Ann. § 47-2-314, running from the Defendant to the

  Plaintiff.

          99.    An implied warranty that the Vehicle was merchantable arose by operation of

  law as part of the purchase of the Vehicle.

          100.   Defendant breached the implied warranty of merchantability in that the Vehicle

  was not in merchantable condition when the Plaintiff purchased it, or at any time thereafter,

  and the Vehicle is unfit for the ordinary purposes for which such vehicles are used.

          101.   Indeed, the Vehicle suffered from an oil consumption defect, which is a

  significant safety concern in that it prevents the Vehicle’s engine from maintaining the proper

  level of engine oil, and causes voluminous oil consumption that cannot be reasonably

  anticipated or predicted. Therefore, the oil consumption defect is unreasonably dangerous

  because it can cause engine failure while the Vehicle is in operation at any time and under any

  driving conditions or speeds, thereby exposing the Vehicle’s driver, passengers, and others

  who share the road with them, to serious risk of accidents and injury.

          102.   Plaintiff notified Defendant of the defects in the Vehicle within a reasonable

  time after Plaintiff discovered them.

          103.   As a result of Defendant’s breaches of the implied warranty of merchantability,

  Plaintiff has suffered damages, including but not limited to incidental and consequential

  damages.

                              THIRD CAUSE OF ACTION
                 Breach of Express Warranties, Tenn. Code Ann. § 47-2-313

          104.   Plaintiff incorporates by reference all of the above paragraphs of this

  Complaint as though fully stated herein.

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         105.    In connection with the sale of the Vehicle to the Plaintiff, Defendant provided

  the Plaintiff with a New Vehicle Limited Warranty under which it agreed to repair original

  components found to be defective in material or workmanship under normal use and

  maintenance, including the Vehicle’s engine.

         106.    Plaintiff relied on Defendant’s warranty when he agreed to purchase the

  Vehicle and Defendant’s warranty was part of the basis of the bargain.

         107.    Plaintiff submitted the Vehicle for warranty repairs as referenced herein.

  Defendant failed to comply with the terms of the express written warranty provided to the

  Plaintiff, by failing to repair the Vehicle’s defects within a reasonable period of time under the

  Vehicle’s warranty as described herein.

         108.    Plaintiff has given the Defendant reasonable opportunities to cure said defect,

  but Defendant has been unable and/or unwilling to do so within a reasonable time.

         109.    As a result of said nonconformities, the Plaintiff cannot reasonably rely on the

  Vehicle for the ordinary purpose of safe, comfortable and efficient transportation.

         110.    The Plaintiff could not reasonably have discovered said nonconformities with

  the Vehicle prior to Plaintiff’s acceptance of the Vehicle.

         111.    The Plaintiff would not have purchased the Vehicle, or would have paid less

  for the Vehicle, had he known, prior to the time of purchase, that the Vehicle contained the

  defects identified herein.

         112.    As a direct and proximate result of the failure of the Defendant to comply with

  its obligations under the express warranties, Plaintiff has suffered actual and consequential

  damages. Such damages include, but are not limited to, the loss of the use and enjoyment of




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  the Vehicle, and a diminution in the value of the Vehicle containing the defects identified

  herein.

                                 FOURTH CAUSE OF ACTION
                       Violation of the Tennessee Consumer Protection Act,
                               Tenn. Code Ann. § 47–18–101 et seq.

            113.   The Plaintiff incorporates by reference all allegations contained in this

  Complaint as though fully stated herein.

            114.   Defendant and Plaintiff are “persons” under Tenn. Code Ann. § 47–18–

  103(14).

            115.   The Vehicle is “goods” under Tenn. Code Ann. § 47–18–103(8) because it is

  tangible chattel that was purchased or leased for personal, family or household use.

            116.   Plaintiff is a “consumer” under Tenn. Code Ann. § 47–18–103(3) because he is

  a natural person who sought or acquired the Vehicle by purchase.

            117.   At all relevant times, Defendant has engaged in “trade,” “commerce,” and a

  “consumer transaction” under Tenn. Code Ann. § 47–18–103(20) by advertising, offering for

  sale, selling, leasing, and/or distributing the subject vehicles in the United States, including

  Tennessee, directly or indirectly affecting Tennessee citizens through that trade and

  commerce.

            118.   The allegations set forth herein constitute false, misleading, or deceptive trade

  acts or practices in violation of Tennessee Consumer Protection Act (“TCPA”), Tenn. Code

  Ann. § 47–18–104(a); (b)(5), (7), (19), (21) and (23).

            119.   Specifically, and as alleged above, Defendant knew or should have known that

  the N63 engine had one or more defects that cause the Vehicle to be unable to properly utilize

  the engine oil and, in fact, to improperly burn off and/or consume abnormally high amounts of



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  oil. The oil consumption defect decreases the lubrication available to engine parts, which

  results in premature failure. As a consequence, the oil consumption defect requires

  unreasonably frequent oil changes and/or the addition of oil between scheduled oil changes.

          120.   The oil consumption defect also is a significant safety concern in that it

  prevents the Vehicle’s engine from maintaining the proper level of engine oil, and causes

  voluminous oil consumption that cannot be reasonably anticipated or predicted. Therefore, the

  oil consumption defect is unreasonably dangerous because it can cause engine failure while

  the Vehicle is in operation at any time and under any driving conditions or speeds, thereby

  exposing the Vehicle’s driver, passengers, and others who share the road with them, to serious

  risk of accidents and injury.

          121.   Defendant acquired knowledge of the oil consumption defect prior to Plaintiff

  acquiring the Vehicle, through sources not available to consumers such as Plaintiff, including

  but not limited to pre-production and post-production testing data, early consumer complaints

  about the engine defect made directly to Defendant and its network of dealers, aggregate

  warranty data compiled from Defendant’s network of dealers, testing conducted by Defendant

  in response to these complaints, as well as warranty repair and parts replacement data received

  by Defendant from Defendant’s network of dealers, amongst other sources of internal

  information.

          122.   While Defendant knew about the oil consumption defect, and its safety risks

  since mid-2008, if not before, Defendant nevertheless concealed and failed to disclose the

  defective nature of the Vehicle and its engine to Plaintiff at the time of purchase and

  thereafter.




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           123.   By failing to disclose and/or concealing the defective nature of the N63 engine

  from Plaintiff, Defendant violated the TCPA as it represented that the Vehicle and its engine

  had characteristics and benefits that it does not have, and represented that the Vehicle and its

  engine was of a particular standard, quality, or grade when it was of another.

           124.   The facts concealed and/or not disclosed by Defendant to Plaintiff are material

  in that a reasonable person would have considered them to be important in deciding whether

  or not to purchase the Vehicle.

           125.   Plaintiff relied to his detriment on those false, misleading, or deceptive acts or

  practices.

           126.   Had Plaintiff known that the Vehicle and its engine was defective at the time of

  purchase, he would not have purchased the Vehicle.

           127.   Those “false, misleading, or deceptive acts or practices” were a producing

  cause of the economic damages sustained by Plaintiff.

           128.   Defendant’s intentional concealment of and failure to disclose the oil

  consumption defect constitutes a willful or knowing violation of the TCPA under Tenn. Code

  Ann. § 47–18–109(3)-(4). To the detriment of Plaintiff, Defendant’s conduct took advantage

  of Plaintiff’s lack of knowledge and ability, was a deception that jeopardized the safety of

  Plaintiff and others, caused excessive and continuing damages to Plaintiff, and was in bad

  faith.

           129.   Defendant’s violations of the TCPA were made in connection with the

  purchase or lease of the Vehicle by Plaintiff.




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         130.    Plaintiff relied on Defendant to disclose material information it knew, such as

  the defective nature of the Vehicle equipped with the N63 engine, and not to induce him into a

  transaction he would not have entered had the Defendant disclosed this information.

         131.    Plaintiff has provided adequate notice to Defendant.

         132.    Plaintiff should be awarded three times the amount of his economic damages

  because Defendant’s intentional concealment of and failure to disclose the oil consumption

  defect constitutes a willful or knowing violation of the TCPA.

                                   FIFTH CAUSE OF ACTION
                                     Fraudulent Concealment

         133.    Plaintiff incorporates by reference all of the above paragraphs of this Petition

  as though fully stated herein.

         134.    Defendant concealed and suppressed material facts regarding the Vehicle –

  most importantly, the fact that it was equipped with the defective N63 engine.

         135.    Specifically, and as alleged above, Defendant knew or should have known that

  the N63 engine had one or more defects that causes the Vehicle to be unable to properly

  utilize the engine oil and, in fact, to improperly burn off and/or consume abnormally high

  amounts of oil. The oil consumption defect decreases the lubrication available to engine parts,

  which results in premature failure. As a consequence, the oil consumption defect requires

  unreasonably frequent oil changes and/or the addition of oil between scheduled oil changes.

         136.    The oil consumption defect also is a significant safety concern in that it

  prevents the Vehicle’s engine from maintaining the proper level of engine oil, and causes

  voluminous oil consumption that cannot be reasonably anticipated or predicted. Therefore, the

  oil consumption defect is unreasonably dangerous because it can cause engine failure while

  the Vehicle is in operation at any time and under any driving conditions or speeds, thereby

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  exposing the Vehicle’s driver, passengers, and others who share the road with them, to serious

  risk of accidents and injury.

          137.   Defendant acquired knowledge of the oil consumption defect prior to Plaintiff

  acquiring the Vehicle, through sources not available to consumers such as Plaintiff, including

  but not limited to pre-production and post-production testing data, early consumer complaints

  about the engine defect made directly to Defendant and its network of dealers, aggregate

  warranty data compiled from Defendant’s network of dealers, testing conducted by Defendant

  in response to these complaints, as well as warranty repair and parts replacement data received

  by Defendant from Defendant’s network of dealers, amongst other sources of internal

  information.

          138.   While Defendant knew about the oil consumption defect, and its safety risks

  since mid-2008, if not before, Defendant nevertheless concealed and failed to disclose the

  defective nature of the Vehicle and its engine to Plaintiff at the time of purchase and

  thereafter.

          139.   Defendant had a duty to disclose such engine defect because it:

                     a. Had exclusive and/or far superior knowledge and access to the facts,

                         and Defendant knew the facts were not known to or reasonably

                         discoverable by the Plaintiff;

                     b. Intentionally concealed the foregoing from the Plaintiff; and/or

                     c. Made incomplete representations about the safety and reliability of the

                         Vehicle, while purposefully withholding material facts from the

                         Plaintiff that contradicted these representations.




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         140.    These omitted and concealed facts were material because they would typically

  be relied on by a person purchasing, leasing or retaining a new or used motor vehicle, and

  because they directly impact the value of the Vehicle purchased by the Plaintiff. Whether a

  manufacturer’s products are safe and reliable, and whether that manufacturer stands behind its

  products, are material concerns to a consumer. Indeed, Plaintiff trusted Defendant not to sell

  Plaintiff a vehicle or not to place into a stream of commerce a vehicle that was defective or

  that violated federal law governing motor vehicle safety.

         141.    Defendant concealed and suppressed these material facts in order to falsely

  assure purchasers and consumers that the subject vehicles were capable of performing safely

  as represented by Defendant and reasonably expected by consumers.

         142.    Defendant actively concealed and/or suppressed these material facts, in whole

  or in part, to protect its profits and avoid recalls that would hurt the brand’s image and cost

  Defendant money, and it did so at the expense of the Plaintiff.

         143.    Plaintiff was unaware of these omitted material facts and would not have acted

  as he did if he had known of the concealed and/or suppressed facts.

         144.    Because of the concealment and/or suppression of the facts, Plaintiff sustained

  damage because the Vehicle diminished in value as a result of Defendant’s concealment of,

  and failure to timely disclose, the serious engine defect and the serious safety and quality

  issues caused by Defendant’s conduct.

         145.    Had Plaintiff been aware of the defective N63 engine installed in the Vehicle,

  and the Defendant’s callous disregard for safety, Plaintiff would have paid less for the Vehicle

  or would not have purchased it at all. Plaintiff did not receive the benefit of the bargain as a

  result of Defendant’s fraudulent concealment.



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          146.       The value of the Vehicle has diminished as a result of Defendant’s fraudulent

  concealment of the engine defect and made any reasonable consumer now reluctant to

  purchase any of the subject vehicles with N63 engine, let alone pay what otherwise would

  have been fair market value for such vehicles.

          147.       Accordingly, Defendant is liable for Plaintiff’s damages in an amount to be

  proven at trial.

          148.       Defendant’s acts were done maliciously, oppressively, deliberately, with intent

  to defraud, and in reckless disregard of Plaintiff’s rights and well-being, and with the aim of

  enriching Defendant.         Defendant’s conduct, which exhibits the highest degree of

  reprehensibility, being intentional, continuous, placing others at risk of death and injury, and

  effecting public safety, warrants an assessment of punitive damages in an amount sufficient to

  deter such conduct in the future, which amount is to be determined according to proof.

                                        PRAYER FOR RELIEF

          WHEREFORE, premises considered, the Plaintiff prays for judgment against

  Defendant as follows:

              a. An order approving revocation of acceptance or rescission of the purchase of

                     the Vehicle;

              b. Money damages, in the form of a refund of the full contract price, including,

                     trade-in allowance, taxes, fees, insurance premiums, interest, and costs, and a

                     refund of all payments made by Plaintiff on the subject contract;

              c. Equitable relief including, but not limited to, replacement of the Vehicle with a

                     new vehicle, or repair of the defective Vehicle with an extension of the express




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                and implied warranties, and service contracts which are or were applicable to

                the Vehicle, in the event that Plaintiff is not found to be entitled to revocation;

            d. Incidental and consequential damages;

            e. Treble and punitive damages;

            f. Reasonable attorney’s fees;

            g. Such other and further relief as this Court deems just and proper.

                    TRIAL BY JURY DEMANDED ON ALL COUNTS

  Dated: January 27, 2020

                                               Respectfully submitted,

                                       By:     /s/ Susan S. Lafferty
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